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A0442




                                            United States District Court
                                                                       for the
                                                                  District of Utah
                  UNITED STATES OF AMERICA                                                                                     '~.·.' r. l. '..rn,1.-    i i' !·I /.,,.?
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                                  v.                                                    Case No.: 2:18-cr-00365-JNP-BCWTe>tr•r
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                         Kingston et al

                                                         ARREST WARRANT
To:         The United States Marshal
            and any authorized law enforcement officer



YOU ARE HEREBY COMMANDED to arrest and bring before a United States magistratejuclge without unnecessary delay (name of person
to be arrested)      RACHEL ANN KINGSTON
who is accused of an ot1ense or violation based on the following document filed with the court:

D       Indictment       [K]   Superseding Indictment             D    Information ·            D   Superseding Information

                         D     Complaint    D    Order of court   D    Violation Notice         D   Probation Violation Petition

                         D  Supervised Release Violation Petition
This offense is briefly described as follows:
            Conspiracy to commit mail fraud ; Conspiracy to Comm.it Money Laundering Offenses ; Money Laundering;
            Destroying and Concealing Records and Objects




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                                                                                                                                                                                ·Code.

                                                                      Clerk of Court
                                                                      Title oflssuing Officer

                                                                      January 17, 2019 at Salt Lake City, Utah
                                                                      Date and Location

By:         Jennifer Stout
            Deputy Clerk


Bail fixed

                                                                     RETURN

This warrant was received and executed with the arrest of the above-named defendant at



DATE RECEIVED                  NAME AND TITLE OF ARRESTING            SIGNATURE OF ARRESTING OFFICER
                               OFFICER

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DATE OF ARREST                                                                       :::.-e---...:.:.--::o-~
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